                                          NO. 07-11-0083-CR

                                       IN THE COURT OF APPEALS

                                  FOR THE SEVENTH DISTRICT OF TEXAS

                                             AT AMARILLO

                                               PANEL D

                                             MAY 2, 2011




                                        RONALD LYNN WADSWORTH,


                                                Appellant
                                                  v.


                                         THE STATE OF TEXAS,


                                                Appellee
                                     ___________________________

                        FROM THE COUNTY CRIMINAL COURT NO. 4 OF DALLAS COUNTY;

                          NO. MB0934577-E; HONORABLE TERESA TOLLE, PRESIDING



                                          Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
      Ronald Lynn Wadsworth was convicted after a bench trial of  evading  arrest  and  sentenced  to
sixty days confinement in the county jail. He  contends  the  evidence  is  legally  insufficient  to
sustain that conviction and that the trial court erred in admitting evidence of a  syringe  found  in
his pocket.  We affirm the judgment.
      Legal Sufficiency
      We review the legal sufficiency of the evidence under the  standard  discussed  in  Jackson  v.
Virginia, 443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979).  Next, the State was required to  prove
that appellant intentionally fled from a person he knew was a peace officer  attempting  lawfully  to
arrest or detain him.  See Tex. Penal Code Ann. §38.03(a) (Vernon 2003).  Appellant argues  that  the
attempted detention or arrest was unlawful because there was no  reasonable  suspicion  that  he  had
been, was, or soon would be engaged in criminal activity.
      The record shows that the officers had the following information before chasing  and  detaining
appellant.  First, a vehicle was seen driving around the neighborhood multiple times.   Second,  that
same vehicle parked in the driveway of a vacant house.  Third, two men exited the  vehicle.   Fourth,
the front door of the house was  unlocked  but  nonetheless  barricaded  by  furniture.   Fifth,  the
sliding door on the back of the vacant house was open.  Sixth, one man was  exiting  the  back  door.
Seventh, that man initially attempted to deceive the officers by  telling  them  that  he  was  there
alone, contrary to what the officers had already been told.   Eighth,  the  same  person  represented
that he was there simply to obtain tires from the backyard, which story failed to explain why he  was
in the house.  Ninth, after eventually being told  by  the  first  detainee  that  there  was  indeed
someone else in the house (appellant), appellant ignored an officer’s directive to come out.   Tenth,
rather than reply, appellant fled the scene and refused to stop until caught by the  police.   Viewed
in their totality, the circumstances were enough  to  provide  an  officer  reasonable  suspicion  to
believe that criminal activity was afoot so as  to  justify  appellant’s  detention.   We  have  here
evidence of conduct akin to casing a neighborhood, a visitation to a  known  vacant  house  by  those
casing the neighborhood, a barricaded front door to a vacant house, an open rear  door  to  a  vacant
house, misrepresentations uttered or attempts at deception engaged in by appellant’s  colleague,  and
flight on the part of appellant.  See Hernandez v. State, 939 S.W.2d 173, 178 (Tex. Crim. App.  1997)
(stating that evidence of flight and other guilty demeanor may tend to connect  a  defendant  with  a
crime).  The first issue is overruled.
      Admission of Evidence
            Appellant also complains of the admission into evidence of testimony by an  officer  that
a hypodermic needle was found in his pocket.  He  objected  to  the  evidence  as  irrelevant  and  a
violation of Texas Rules of Evidence 403 and 404.[1]  However, he did not object to the same  officer
testifying that a “small narcotics baggie” was also found on him  at  the  scene.   We  overrule  the
issue.
      We review the trial court’s ruling under the standard of abused discretion. Walters  v.  State,
247 S.W.3d 204, 217 (Tex. Crim. App. 2007). Next, evidence of extraneous  offenses  may  be  admitted
for the limited purpose of proving motive.  Tex. R. Evid.  404(b).   For  example,  admitting  it  to
establish an accused’s motive for evading arrest has been  held  permissible.   See  e.g.  Guerra  v.
State, No. 07-09-0238-CR, 2010 Tex. App. Lexis 5655, at *16 (Tex. App.–Amarillo July 19,  2010,  pet.
denied) (so stating); West v. State, No. 05-04-01218-CR &amp; No. 05-04-01219-CR, 2005  Tex.  App.  Lexis
6495, at *5 (Tex. App.–Dallas August 16, 2005, no pet.) (finding no abuse of discretion  in  allowing
evidence of false identification documents found in the defendant’s vehicle to prove the  defendant’s
motive in evading arrest).[2]  And, at the very least, whether appellant’s possession  of  a  syringe
and narcotics serves to make it more likely than not that he  intentionally  fled  from  a  policeman
falls within the zone of reasonable disagreement.   Thus,  we  cannot  say  that  the  trial  court’s
decision to admit the evidence constituted an abuse of discretion.
      The judgment is affirmed.

                                        Brian Quinn
                                        Chief Justice

Do not publish.
-----------------------
      [1]Appellant does not discuss either Rule 403 or 404 on appeal.  Thus, we do not consider  them
as potential grounds for reversal.

      [2]Compare Couret v. State, 792 S.W.2d 106 (Tex. Crim. App. 1990), a case cited  by  appellant,
in which the defendant was charged with burglary, and the court held evidence that he  had  a  needle
in his pocket inadmissible because there was no suggestion that he committed burglary  to  support  a
drug habit.



